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               Exhibit 6
September 22, 2020 Email from Marty
 Tripp to Jeanine Zalduendo, Michael
   Lifrak, RKay and Aubrey Jones




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Jeanine Zalduendo

From:                          MT <mtprotons@protonmail.com>
Sent:                          Tuesday, September 22, 2020 11:13 PM
To:                            Jeanine Zalduendo; Michael Lifrak; rkay@mcdonaldcarano.com; Aubrey Jones
Subject:                       Question re sanction


                                               [EXTERNAL EMAIL]


Hello,

As I'm sure you are well aware via the hacking and monitoring you and your client have been performing on
me, I will be performing a series of live discussions throughout Europe in the coming months, (all non-paid
engagements, of course).

One of the questions that has come up by a few of the companies I will be working with is what are the
specifics of the $500 / day for discussing AEO documents? Is this a per occurrence (for every document I
describe)? Or is it per day, no matter what I describe/discuss?

Also, they would like to know to who and where they would need to send a check.

Thank you, be well.

-Marty

Sent with ProtonMail Secure Email.




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